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                                  UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE
                                       WESTERN DIVISION


JACQUELINE HOLLOWAY,

         Plaintiff,

VS.                                                             Civil Action No. 2:19-cv-02305-TLP-cgc

FEDEX EXPRESS,

      Defendant.
_______________________________________________________________________________

         ORDER GRANTING LEAVE TO PROCEED IN FORMA PAUPERIS
_______________________________________________________________________________

         On May 14, 2019 plaintiff Jacqueline Holloway, filed a pro se complaint and a motion to

proceed in forma pauperis. (D.E. # 1 & 2.) This case has been referred to the United States

magistrate judge for management and for all pretrial matters for determination and/or report and

recommendation as appropriate pursuant to Administrative Order 2013-05 1.

         Federal law provides that the Clerk of each district court shall require parties instituting any

civil action, suit or proceeding in such court, whether by original process, removal or otherwise, to

pay the filing fee of $400. 2 28 U.S.C. § 1914(a). To ensure access to the courts, however, 28 U.S.C.



1
  The instant case has been referred to the United States Magistrate Judge by Administrative Order pursuant to the
Federal Magistrates Act, 28 U.S.C. §§ 631-639. All pretrial matters within the Magistrate Judge’s jurisdiction are
referred pursuant to 28 U.S.C. § 636(b)(1)(A) for determination, and all other pretrial matters are referred pursuant to
28 U.S.C. § 636(b)(1)(B)-(C) for report and recommendation.

2
 Twenty-eight U.S.C. § 1914(a) requires a civil filing fee of $350. However, pursuant to § 1914(b),“[t]he clerk shall
collect from the parties such additional fees only as are prescribed by the Judicial Conference of the United States,”
The Judicial Conference has prescribed, effective May 1, 2013, an additional administrative fee of $50 for filing any
civil case, except for cases seeking habeas corpus and cases in which the plaintiff is granted leave to proceed in forma
pauperis under 28 U.S.C. § 1915. As the court is granting leave to proceed in forma pauperis in this case pursuant to
§ 1915, the plaintiff is not liable for the additional $50 fee.
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§ 1915(a) permits an indigent plaintiff to avoid payment of filing fees by filing an in forma pauperis

affidavit. Under that section, the court must conduct a satisfactory inquiry into the Plaintiff’s ability

to pay the filing fee and prosecute the lawsuit. A plaintiff seeking in forma pauperis status must

respond fully to the questions on the court’s in forma pauperis form and execute the affidavit in

compliance with the certification requirements contained in 28 U.S.C. § 1746.

       In this case, the plaintiff has submitted a properly completed and executed in forma pauperis

affidavit. The information set forth in the affidavit satisfies the plaintiff’s burden of demonstrating

that she is unable to pay the civil filing fee. Accordingly, the motion to proceed in forma pauperis

is GRANTED.

       Plaintiff shall promptly notify the Clerk in writing of any change of address. Failure to

comply with this requirement, or any other order of the court, may result in the dismissal of this case

without further notice.

       Pursuant to 28 U.S.C. § 1915(e)(2)(B) and Local Rule 4.1(b)(2), the court will conduct a

screening of the complaint to determine whether or not summons shall be issued by the Clerk. No

further action is required of the defendant until the court has completed its screening of the

complaint. In the event the court directs the Clerk to issue summons, process will be served by the

U.S. Marshal in accordance with 28 U.S.C. § 1915(d) and Fed. R. Civ. P. 4(c)(3).

         IT IS SO ORDERED this 23rd day of May, 2019.

                                               s/Charmiane G. Claxton
                                               CHARMIANE G. CLAXTON
                                               UNITED STATES MAGISTRATE JUDGE




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